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                     EXHIBIT A
         Case 8:16-cv-01440-JLS-DFM Document 104-1 Filed 02/20/19 Page 2 of 2 Page ID #:887
                                                                                      ~AGE. 15




StatementDate: 06/06/14                                          Previous Balance                         0.00
Page t of 2 for:                                                 Payments                               -46.47
DONEYDA PEREZ                                                    Current Charges & Fees                  56.99
For Service at                                                   Adjustments & Credits                  -11.00
2127W DOGWOOD AVE                                                Taxes                                    0.48
ANAHEIM, CA 92801 -3426                                          Amount Due                              $0.00

Activity
Start     End        Description                                                                       Amount
                     Previous Balance                                                                     o.oo
06/06                Payment-Thank.You - VISA                                                           -46.47

                     Cul'Nnt Charges for Service Period 06/05/14- 07/04/ 14                                                    ComUDiquese cou uosotros llamando al
06/05     07/04      OPTIMO MAS Monthly                                                                  50.99                  1...,888-388-Ci622
                     Fees                                                                                                                                                           8
                                                                                                                                                                                 .. m
                                                                                                                                                                                    ...
06/06                Primary TV                                                                           6.00                  En este momento no bay saldo
                                                                                                                                pendiente de pago.                                  ~
                     Adjustments & Credits
06/05     07/04      OPTIMO MAS 36 Mo Insta nt Rebat e:M os 13-36                                         -5.00 Credit
                                                                                                                                Este estado de cuenta es solo para su
06/06                Primary TV Free                                                                      -6.00 Credit          informacion.

                     Sales Tax                                                                            0.48                  Invite Amigos a DIRECTV y Ahorre
                     AMOUNTDUE                                                                           $0.00                  Ellos se inscriben en el S55-566-4388
                                                                                                                                y ud. gana $100 de credito en la factura.
                                                                                                                                Solo nuevos clientes. Hay condiciones.
Reduzca la cantldad de papel que reclbe por correo - jobtenga esta factura
electr6uicament.e! Para cambiar a facturaci6n electr6nica. solo utilice su infonnacion de
cuenta indicada aaiba para registrarse en DIRECTV.com, luego siga las indicaciones faciles
de "Go Paperless". Su factura mensual le sera eoviada poT coneo electrooico y podra
pagarla por Internet en cualquier momento .




                                                                                                                                                               1234




                                                                            DATE DUE     ACCOUNT NUMBER                     AMOUNT DUE                   PAYMENT ENCLOSED
                                                                          No Payment Due     70711709                      No Payment Due
 0   Note my change of address on reverse side.                                       (714) 875-3829
     DO NOT WRfTE OTHER COMMENTS ON TIOS FORM
                                                                                                       CONFIRMACl6N de su suscripcion al Pago Automatico de
                                                                                                       Factura con TARJHA DE CRtDITO. El pago se cobro en esta
     #BWNHPWR
                                                                                                       fecha defacturaci6n. Verarriba.
     #PGPGMGPl9#
     AB 02 001557 26998 B 9 B                                                                          DIRECTV
     DONEYDA. PEREZ                                                                                    POB0X54000
     2127 W DOGWOOD AVE                                                                                LOS ANGELES CA 90054-1000
     ANAHEIM CA 92801-3426

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